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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                  NO. 4:13CR00068 JLH

KENNETH EUGENE BROWN, JR.,
TREMAYNE MONYEE BROWN,
KENNETH EUGENE BROWN, SR.,
RASHEAD STATON, DERRICK ANTHONY
RHODES, RENALDRE JACKSON,
TYRONE EDDIE MCCRAY, ANDRE
JERMAINE ROBINSON, BRIAN EUGENE
ROBINSON, BOBBY JEROME KNIGHT,
and ISSAC BLACK                                                                 DEFENDANTS

                                            ORDER

       Without objection, the government’s motion for an order to correct indictment is GRANTED.

Document #133. The first sentence in Count 1 is corrected to read, in pertinent part, “From in or

about May, 2012, and continuing through on or about February 4, 2013 . . . .”

       IT IS SO ORDERED this 7th day of November, 2013.



                                                    _________________________________
                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
